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                             Case No. 24-10951
                   UNITED STATES COURT OF APPEALS
                       FOR THE FIFTH CIRCUIT
                            _____________________________

                                 RYAN L.L.C.,
                             Plaintiff-Appellee,

    CHAMBER OF COMMERCE OF THE UNITED STATES OF AMERICA; BUSINESS
   ROUNDTABLE; TEXAS ASSOCIATION OF BUSINESS; LONGVIEW CHAMBER OF
                            COMMERCE,
                       Intervenor Plaintiffs-Appellees,
                                         v.
                       FEDERAL TRADE COMMISSION,
                            Defendant-Appellant.
                            ________________
               On Appeal from the United States District Court
                For the Northern District of Texas (Brown, J.)
                              No. 3:24-cv-986
                            ________________
   MOTION FOR PERMISSIVE INTERVENTION AS INTERVENOR
 APPELLANTS OR, IN THE ALTERNATIVE, CONDITIONAL MOTION
     FOR INTERVENTION AS OF RIGHT BY SMALL BUSINESS
      MAJORITY, JOHN ROFFINO, AND DANIELLA EMMER
                     ________________
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January 13, 2025
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                 CERTIFICATE OF INTERESTED PERSONS

      Ryan LLC v. Federal Trade Commission, No. 24-10951

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.2.1 have an interest in the

outcome of this case. These representations are made in order that the judges of this

court may evaluate possible disqualification or recusal:

1. Fairmark Partners, LLP
2. Michael Lieberman
3. Jamie Crooks
4. Towards Justice
5. David Seligman
6. Rachel Dempsey
7. John Roffino
8. Daniella Emmer
9. Small Business Majority
10.Ryan L.L.C.
11.Chamber of Commerce of the United States of America
12.Business Roundtable
13.Texas Association of Business
14.Longview Chamber of Commerce
15.Gibson, Dunn & Crutcher, L.L.P.
16.The Fillmore Law Firm, L.L.P.
17.Sullivan & Cromwell L.L.P.
18.Potter Minton, PC
19.Eugene Scalia
20.Amir C. Tayrani
21.Andrew G.I. Kilberg
22.Aaron Hauptman
23.Joshua R. Zuckerman
24.Allyson N. Ho
25.Elizabeth A. Kiernan
26.Charles W. Fillmore
27.H. Dustin Fillmore III

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28.Jeffrey B. Wall
29.Judson O. Littleton
30.Jordan Von Bokern
31.Tyler Badgley
32.Liz Dougherty
33.Michael E. Jones
34.Shaun W. Hassett
35.Robert Lee Sayles




                         /s/ Michael Lieberman
                         Attorney of Record for Proposed Intervenors Small
                             Business Majority, John Roffino, and Daniella Emmer




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                         PRELIMINARY STATEMENT

      This appeal concerns the legality of the Federal Trade Commission’s Non-

Compete Clause Rule (“Rule”), which makes certain non-compete clauses in

employment contracts unenforceable. Proposed Intervenors are Small Business

Majority, John Roffino, and Daniella Emmer. Small Business Majority is a national

small business organization that represents many businesses disadvantaged by

noncompete clauses, which impede them in finding and hiring new talent. Mr.

Roffino is a veteran of the war in Afghanistan who is currently subject to a non-

compete clause from his former employer, which prevents him from starting his own

business selling medical devices to veterans. Ms. Emmer is a therapist who is unable

to pursue more appealing and higher-paying jobs because of a non-compete clause

in her current employment agreement.

      Proposed Intervenors have strong interests in protecting the Rule from legal

challenge. As explained below, the forthcoming change in Administration and

anticipated changes in the FTC’s membership create a substantial likelihood that the

government will stop defending the Rule in the near future. Proposed Intervenors

cannot sit on the sidelines waiting for that time to arrive before asserting their

interests. If Proposed Intervenors wait until the government stops defending the

Rule, it may be too late to intervene at that point. For example, if the government

were to voluntarily dismiss its appeal, the dismissal may take effect before Proposed


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Intervenors have any opportunity to seek intervention. Moreover, if Proposed

Intervenors wait any longer to seek intervention, they would risk their motion being

denied on timeliness grounds. To avoid those risks, Proposed Intervenors seek

intervention now.

      First, Proposed Intervenors seek permissive intervention. They currently

satisfy the requirements for permissive intervention and their entry into the case

would not unduly delay or prejudice the adjudication of any parties’ rights. Cf. Fed.

R. Civ. P. 24(b). Indeed, Proposed Intervenors do not intend to make any substantive

filings in this case unless and until the government stops defending the Rule.

      Second, in the alternative, Proposed Intervenors conditionally seek

intervention by right. Cf. Fed. R. Civ. P. 24(a). Because the government is currently

protecting their interests, Proposed Intervenors ask the Court to defer consideration

of their request for intervention by right, not ruling on it unless and until the

government stops defending the Rule in whole or in part. See Solid Waste Agency v.

United States Army Corps of Eng’rs, 101 F.3d 503, 509 (7th Cir. 1996) (approving

this “conditional application for leave to intervene” procedure). At that time,

Proposed Intervenors would satisfy all requirements for intervention by right.

      Intervention would not only allow Proposed Intervenors to protect their

interests in the Rule, but would also ensure the continued adversarial presentation of

the important issues in this case. Absent intervention, the Rule could remain


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permanently invalidated nationwide based on the ruling of a single district court,

despite a ruling from a co-equal district court upholding the same Rule, see ATS Tree

Servs., LLC v. FTC, No. 24-1743, 2024 WL 3511630 (E.D. Pa. July 23, 2024), and

a ruling by the D.C. Circuit upholding the agency’s statutory authority to issue

substantive competition rules, in conflict with the decision below, Nat’l Petroleum

Refiners, Ass’n v. FTC, 482 F.2d 672, 673 (D.C. Cir. 1973). Proposed Intervenors

submit that the better course would be to allow intervention and ensure the continued

adversarial presentation necessary for this Court to weigh in on the issues this case

presents.1

                               LEGAL STANDARD

       Intervention in the district court is governed by Federal Rule of Civil

Procedure 24, which contains separate provisions for permissive intervention, see

Fed. R. Civ. P. 24(b), and intervention by right, see Fed. R. Civ. P. 24(a). Although

“[n]o specific provision in the Federal Rules of Appellate Procedure or the Rules of

this Circuit provides for intervention on appeal, … the Supreme Court has

recognized that the policies underlying intervention in the district courts may be



   1
      In accordance with Fifth Circuit Rule 27.4, Proposed Intervenors contacted
counsel for all parties regarding this motion. Counsel for Plaintiff-Appellee stated
that Plaintiff-Appellee opposes the motion and will file an opposition. Counsel for
Intervenor Plaintiffs-Appellees stated that Intervenor Plaintiffs-Appellees oppose
the motion and reserve the right to file an opposition within the time limits provided
by the rules. Counsel for Defendant-Appellant did not provide a position.

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applicable in appellate courts.” United States v. Bursey, 515 F.2d 1228, 1238 (5th

Cir. 1975); see also Baker v. Wade, 769 F.2d 289, 291-92 (5th Cir. 1985) (finding

intervention on appeal “justified because [intervenor’s] position satisfied the

requirements of both Fed. R. Civ. P. 23(d)(2) and 24(a)(2)”). Other courts of appeals

considering intervention motions likewise apply Rule 24. See, e.g., Bates v. Jones,

127 F.3d 870, 873 (9th Cir. 1997).

      To “prevent … procedural gamesmanship,” however, this Court allows

“intervention on appeal only in an exceptional case for imperative reasons.”

Richardson v. Flores, 979 F.3d 1102, 1105 (5th Cir. 2020). This Court deemed that

elevated standard necessary because without it, parties might seek to intervene

directly on appeal instead of seeking review of a district court’s decision denying

their first effort at intervention, thereby trying to avoid the abuse of discretion

standard. Id. at 1105 & n.2 (citing Hutchinson v. Pfeil, 211 F.3d 515, 519 (10th Cir.

2000)).

                 INTERESTS OF PROPOSED INTERVENORS

      Proposed Intervenors are Small Business Majority (“SBM”), John Roffino,

and Daniella Emmer, all of whom have an interest in the outcome of this litigation

and the validity of the Rule.

      SBM is a national small business organization that empowers America’s

diverse entrepreneurs to build a thriving and equitable economy. See Exh. A,



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Declaration of John C. Arensmeyer ¶ 4. SBM engages its network of more than

85,000 small businesses and 1,500 business and community organizations to deliver

resources to entrepreneurs and advocate for public policy solutions that promote

inclusive small business growth, including by advocating specifically for limits on

non-compete agreements. Id. ¶¶ 4, 10. Noncompetes harm thousands of small

businesses in SBM’s network by impeding their efforts to recruit and hire new talent

to help innovate and grow their businesses. Id. ¶¶ 11-17. Non-compete agreements

also stop aspiring entrepreneurs from starting their own businesses, which further

hampers the small business growth and innovation that SBM supports. Id. ¶ 12.

      Mr. Roffino is a disabled veteran. He served in the United States Army and

was deployed to Afghanistan for Operation Enduring Freedom. He earned a bronze

star medal in recognition of his distinguished performance. See Exh. B, Declaration

of John Roffino, at ¶¶ 3-6. When he returned to civilian life, Mr. Roffino sought to

enter a profession that would allow him to continue helping people, especially other

veterans. Id. ¶ 7. After a stint working in in a pediatric neuro intensive care unit, he

was hired by a company that sells a medical device to help patients regain mobility

after surgery. Id. ¶¶ 8-10. This job was especially appealing to him because many of

the patients he worked with were veterans. Id. ¶ 10. Eventually, however, he grew

frustrated with the company’s model of renting devices on a month-to-month basis




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instead of selling them, which placed undue financial strain on customers and caused

some to cease treatment altogether. Id. ¶¶ 12-15.

      Because Mr. Roffino felt inhibited from serving veterans the way he wanted,

he sought to leave the company and start his own business providing mobility

devices to veterans for a one-time payment, but his prior employer had required him

to sign a non-compete agreement when it first hired him. Id. ¶ 16-19; see also Exh.

1 to Roffino Decl. His noncompete agreement is extraordinarily broad, prohibiting

him from engaging “directly or indirectly” in an expansive list of activities relating

to any orthopedic medical device. Id. ¶¶ 17-21. The restricted activities include far-

reaching, hard-to-define activities like “business development” and “strategic

planning.” Id. The agreement covers any territory in which he had any material

responsibility, regardless of its proximity to his prior employer. Id.

      Mr. Roffino eventually did leave the company, but because of the noncompete,

had to take a substantial pay cut and leave his preferred field. Id. ¶ 25. He also has

been prohibited from taking any concrete steps toward opening his own business.

Id. ¶¶ 14, 16, 23-28. And because the noncompete also covers activities like strategic

planning and business development, he worries that his employer would try to

enforce it against him if he did start his business after the noncompete’s term expires,

for example by arguing that he began to develop his ideas for the new business

during the noncompete’s term. Id.


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       Ms. Emmer is a pre-licensed therapist currently working for a group therapy

practice. See Exh. C, Declaration of Daniella Emmer ¶¶ 3-4. As a condition of her

hiring, she was required to sign a non-compete agreement that, upon termination of

her employment, would prohibit her from serving as a therapist for any patient she

started treating while at her current employer for a two-year period. Id. ¶ 5. This

restriction is in addition to a non-solicitation agreement; thus, if a patient proactively

seeks out her services at her new employer, the non-compete agreement would still

require her to turn down that patient. Id. ¶ 5. Because of the non-compete agreement,

she has been unable to pursue more attractive and higher-paying job opportunities.

Id. ¶¶ 9-10. She would like to leave her current employer, but because she cannot

afford to turn down clients who sought her out at a new employer, and because doing

so would be clinically detrimental to her patients in many circumstances, her non-

compete agreement prevents her from obtaining a new job despite her desire to do

so. Id. ¶ 10.

                                    ARGUMENT

I.     There Is A Substantial Risk That The Government Will Stop Defending
       The Non-Compete Rule.

       The government recently filed its opening brief seeking reversal of the

judgment below. However, there is good reason to believe that the government may

stop defending the Rule, in whole or in part, shortly after the forthcoming change in

Administration.


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      The FTC is “composed of five Commissioners, who shall be appointed by the

President, by and with the advice and consent of the Senate.” 15 U.S.C. § 41 (“FTC

Act”). No more than “three of the Commissioners [may] be members of the same

political party,” id., and standard practice is for three Commissioners to be members

of the same political party as the President. That practice will continue in the next

Trump Administration: two of the current Commissioners are Republicans, two are

Democrats, and President Trump has announced his intention to nominate Mark

Meador, a Republican, to the vacant fifth seat. See @realDonaldTrump, TRUTH

SOCIAL (Dec. 10, 2024, 6:24 PM), https://tinyurl.com/4vdcd5wp.

      The two current Republican commissioners have made clear that they do not

support the Rule. Commissioner Andrew Ferguson, whom President Trump has

selected to be the FTC’s next Chair, dissented from the Commission’s issuance of

the Rule and filed a 45-page statement expressing his view that the FTC “[has]

neither the authority nor the evidence to sustain the Final Rule.” Dissenting

Statement of Commissioner Ferguson, In the Matter of the Non-Compete Clause

Rule, Matter No. P201200 (June 28, 2024), at 1, 45.

      Commissioner Melissa Holyoak—whose term will continue until late next

year—likewise dissented from the Commission’s issuance of the Rule and filed a

statement “agree[ing] with Commissioner Ferguson’s reasons for rejecting the Rule”

and further arguing that the FTC Act does not authorize competition rulemaking.


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Dissenting Statement of Commissioner Holyoak, In the Matter of the Non-Compete

Clause Rule, Matter No. P201200 (June 28, 2024), at 3.

      Based in part on these statements, media outlets and legal commentators

widely report that the Rule “will most likely be reversed under a Donald Trump

administration.” Paul Mulholland, Trump Likely to Reverse Non-Compete Ban,

Independent Contactor Rule, Worker Safety Rules, Plan Sponsor Council of America

(Nov. 6, 2024), https://tinyurl.com/2snwj4pw; see also, e.g., Mark L. Daniels, The

Future of Federal Non-Compete Bans in a Trump Administration, National Law

Review (Nov. 26, 2024), https://tinyurl.com/mtar9f8s (“Mr. Ferguson and Ms.

Holyoak … both would likely direct the Department of Justice to withdraw the

FTC’s pending appeals.”).

      There is ample precedent for a new administration declining to defend the

prior administration’s regulatory actions. For example, the Biden Administration

moved to dismiss the government’s Seventh Circuit appeal in a case challenging the

first Trump Administration’s Public Charge Rule. See Unopposed Motion To

Voluntarily Dismiss Appeal, Cook Cty. v. Wolf, No. 20-3150 (7th Cir. Mar. 9, 2021).

Similarly, the first Trump Administration declined to seek rehearing or Supreme

Court review of this Court’s decision vacating the Obama-era Fiduciary Rule. See

Chamber of Commerce v. Dep’t of Labor, 885 F.3d 360 (5th Cir. 2018).




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       At the very least, there undeniably is a risk that the government will stop

defending the Rule—whether by voluntarily dismissing this appeal, seeking to hold

these proceedings in abeyance, stipulating to judgment, declining to seek Supreme

Court review of an adverse decision, or otherwise. Proposed Intervenors accordingly

seek to defend their interests in the Rule and move to intervene in this matter before

it is too late.

II.    Proposed Intervenors Satisfy The Requirements For Permissive
       Intervention.
       The only requirements for permissive intervention are (1) the would-be

intervenor’s claim shares a question of law or fact with the main action, and (2)

timely application. Fed. R. Civ. P. 24(b)(1); see United States ex rel. Hernandez v.

Team Fin., L.L.C., 80 F.4th 571, 577 (5th Cir. 2023). Proposed Intervenors satisfy

both requirements, and because of the likelihood that the government declines to

continue protecting their interests, the Court should exercise its discretion to allow

them to intervene now.

       A.         Proposed Intervenors’ Defense of the Rule Shares Common
                  Questions With the Main Action.
       The first requirement for permissive intervention is that the proposed

intervenor “has a claim or defense that shares with the main action a common

question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B). This requirement is given a

“liberal construction.” Stallworth v. Monsanto Co., 558 F.2d 257, 269 (5th Cir.



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1977). Here, Proposed Intervenors’ anticipated defense of the Rule shares every

question of law and fact in common with the main action: They seek to defend the

Rule as a lawful exercise of FTC’s authority to “make rules and regulations for the

purpose of carrying out the provisions of [the FTC Act],” which prohibits “unfair

methods of competition.” 15 U.S.C. §§ 45(a)(2), 46(g).

      B.      This Motion is Timely.
      This Court assesses the timeliness of a motion for permissive intervention by

applying four factors: “(1) the length of time the movant waited to file, (2) the

prejudice to the existing parties from any delay, (3) the prejudice to the movant if

the intervention is denied, and (4) any unusual circumstances.” Hernandez, 80 F.4th

at 578.

      The first factor, length of time, is measured not from the start of the case, but

from “the moment that the prospective intervenor knew that his interests would no

longer be protected.” Id.; accord Edwards v. City of Houston, 78 F.3d 983, 1000 (5th

Cir. 1996); cf. United Airlines, Inc. v. McDonald, 432 U.S. 385, 394 (1977). This

motion is timely under that standard because it is being filed even before it becomes

certain that Proposed Intervenors’ interests will no longer be protected by an existing

party, i.e., before the government stops defending the Rule. Furthermore, even if

timeliness were measured from Election Day (on the theory that the writing has been

on the wall since then), this Court has recognized on multiple occasions that a two-



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month “delay” is not long enough to make a motion untimely. See, e.g., Nextera

Energy Capital Holdings, Inc. v. D’Andrea, 2022 WL 17492273, at *3 (5th Cir. Dec.

7, 2022) (two months); Sierra Club v. Espy, 18 F.3d 1202, 1205 (5th Cir. 1994) (two

months); Ass’n of Pro. Flight Attendants v. Gibbs, 804 F.2d 318, 321 (5th Cir. 1986)

(five months).

      The second factor, prejudice to existing parties from any delay, also favors

intervention. Prejudice under this factor “must be measured by the delay in seeking

intervention, not the inconvenience to the existing parties of allowing the intervenor

to participate in the litigation.” Espy, 18 F.3d at 1206. There was no delay here, but

even if there was, it did not cause prejudice. Proposed Intervenors do not intend to

make any substantive filings in this case unless and until the government stops

defending the Rule. In addition, Proposed Intervenors are willing to adopt the

government’s opening brief as their own, ensuring that their entry into the case “will

not create delay by inject[ing] new issues into the litigation” or “threaten to broaden

the scope of the case going forward.” Day v. Apoliona, 505 F.3d 963, 965 (9th Cir.

2007). All intervention will do is “ensure that [the] determination of an already

existing issue is not insulated from review simply due to the posture of the parties.”

Id.

      The third factor, prejudice to the movant if intervention is denied, also

supports intervention. A proposed intervenor’s interest in a regulatory scheme “is


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impaired by the stare decisis effect of the district court’s judgment” as to the

scheme’s validity. Espy, 18 F.3d at 1207 (quoting Ceres Gulf v. Cooper, 957 F.2d

1199, 1204 (5th Cir. 1992)). That is the case here. If the government were to

voluntarily dismiss its appeal or otherwise acquiesce in the district court’s injunction,

Proposed Intervenors’ economic interests would be adversely affected without their

having any opportunity to protect those interests by taking up the Rule’s defense.

See Brumfield v. Dodd, 749 F.3d 339, 345 (5th Cir. 2014) (“The very purpose of

intervention is to allow interested parties to air their views so that a court may

consider them before making potentially adverse decisions.”).

       Fourth, Proposed Intervenors are not aware of any “unusual circumstances”

relevant to the timeliness determination.

       In sum, three of the timeliness factors weigh in favor of intervention and the

fourth is neutral.

III.   In The Alternative, The Court Should Defer Decision On Proposed
       Intervenors’ Conditional Motion To Intervene By Right.

       If the Court does not grant permissive intervention, Proposed Intervenors

respectfully request that the Court defer decision on their alternative, conditional

motion to intervene by right until the government stops defending the Rule, should




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that occur.2 At that time, Proposed Intervenors would satisfy all requirements for

intervention by right.

       A.    If Permissive Intervention is Denied, the Conditional Motion is
             Necessary to Protect Proposed Intervenors’ Interests.

       Because the government is currently representing their interests adequately,

Proposed Intervenors cannot currently satisfy the requirement for intervention by

right. See, e.g., Texas v. United States, 805 F.3d 653, 657 (5th Cir. 2015) (intervention

by right permitted only when interests are “inadequately represented by the existing

parties”).3 However, Proposed Intervenors cannot wait until the government stops

defending the Rule, for two reasons. First, if Proposed Intervenors waited until then,

it may be too late to intervene. If the government were to voluntarily dismiss its

appeal under FRAP 42(b)(1), for example, the dismissal might take effect

immediately, leaving no opportunity for intervention. See Fed. R. App. 42(b)(1)

(“The circuit clerk must dismiss a docketed appeal if the parties file a signed

dismissal agreement…” (emphasis added)). Alternatively, if the government




   2
      Absent contrary direction from the Court, Proposed Intervenors would plan to
file a Notice if and when they believe the government’s representation has become
inadequate. If the Court does not grant the motion for permissive intervention,
Proposed Intervenors ask the Court to order the government to provide at least 10
days’ notice to Proposed Intervenors and the Court before voluntarily dismissing this
appeal or stipulating to judgment.
   3
    This “inadequate representation” requirement does not apply to requests for
permissive intervention.

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defended the Rule before the panel but then declined to seek en banc or Supreme

Court review of an adverse judgment, post-judgment intervention might not be

possible. See Fed R. App. P. 40(a) (only a “party” may seek rehearing); Sup. Ct. R.

12.6 (same as to certiorari). That appears to be what doomed the would-be

intervenors in the aforementioned case regarding the Fiduciary Rule: After the new

administration declined to seek review of this Court’s panel decision, several “state

attorneys general sought leave to intervene to appeal the decision,” but this Court

“denied those motions because litigation had already been completed.” Bethany A.

Davis Noll & Richard L. Revesz, Presidential Transitions: The New Rules, 39 Yale

J. On Reg. 1100, 1127-28 (2022).

      Second, if Proposed Intervenors wait until the government stops defending

the Rule, they would risk their motion being denied on timeliness grounds. As noted

above, parties seeking intervention must do so soon after becoming aware that their

interests will “no longer be protected.” Edwards, 78 F.3d at 1000. If Proposed

Intervenors waited to file, Appellees might oppose the motion by arguing that

Proposed Intervenors had such knowledge before the government formally stopped

defending the Rule. That is what the plaintiffs in the Fiduciary Rule case argued

when the AARP sought to intervene after the government formally stopped

defending the rule: “Although the Justice Department vigorously defended the Rule

in the district court and before this Court, Movants were on notice long ago that the


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new Administration was not so deeply committed to the Fiduciary Rule.” Appellants’

Consolidated Opposition To Motion Of AARP To Intervene 13, Chamber of

Commerce v. U.S. Department of Labor, No. 17-10238 (Apr. 30, 2018).

      For both of those reasons, filing this Motion now is necessary to protect

Proposed Intervenors’ interests. However, because they cannot currently satisfy the

requirements for intervention by right, Proposed Intervenors move to intervene as of

right on a conditional basis, pursuant to the approach set out by the Seventh Circuit

in Solid Waste Agency of Northern Cook County v. U.S. Army Corps of Engineers,

101 F.3d 503 (7th Cir. 1996). In Solid Waste, the court recognized “aspiring

intervenors’ concern that at some future point in this litigation the government’s

representation of their interest may turn inadequate yet it would be too late to do

anything about it.” Id. at 508. The court explained that “[t]he proper way to handle

such an eventuality” is for the would-be intervenor to file “a standby or conditional

application for leave to intervene and ask the [] court to defer consideration of the

question of adequacy of representation until the applicant is prepared to demonstrate

inadequacy.” Id. at 509. Proposed Intervenors are doing exactly that.

      B.     Proposed Intervenors Satisfy the First Three Requirements For
             Intervention By Right, and Would Satisfy the Fourth if the
             Government Stops Defending the Rule.
      To intervene by right, a prospective intervenor must satisfy four requirements:

(1) the application for intervention must be timely; (2) the applicant must have an



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interest relating to the property or transaction which is the subject of the action; (3)

the disposition of the action may, as a practical matter, impair or impede his ability

to protect that interest; (4) the applicant’s interest must be inadequately represented

by the existing parties. Texas, 805 F.3d at 657. Proposed Intervenors satisfy the first

three requirements and would satisfy the fourth if the government stopped defending

the Rule.

             1.     The Motion is Timely.

      The timeliness requirement for intervention by right is the same as for

permissive intervention. Accordingly, for the same reasons noted above, Proposed

Intervenors’ request is timely. See supra Part II.B.

             2.     Proposed Intervenors Have An Interest in the Rule.
      Rule 24(a)’s second requirement is that Proposed Intervenors “must have an

interest relating to the property or transaction which is the subject of the action.”

Fed. R. Civ. P. 24(a)(2). The “property or transaction that is the subject of the action”

here is the Rule, so the question is whether Proposed Intervenors have an “interest”

relating to the Rule. Any interest that is “concrete, personalized, and legally

protectable,” as opposed to merely ideological, “is sufficient to support

intervention.” Texas, 805 F.3d at 657. And while the interest must be “legally

protectable,” it need not be legally enforceable—i.e., as long as the intervenor’s




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interest is “of the type that the law deems worthy of protection,” it is immaterial that

the intervenor may not have “an enforceable legal entitlement.” Id. at 659.

                a. Small Business Majority
      SBM’s interests in this case are clear. Noncompete agreements harm

thousands of small businesses that SBM represents by impeding them from

identifying, recruiting, and hiring the workers that will add the most value to their

businesses. See Exh. A ¶¶ 11-16; see also, e.g., Rule, 89 Fed. Reg. at 38,496 (“[T]he

evidence indicates the final rule will, in the aggregate, benefit both small businesses

and workers who work for small businesses.”). Indeed, according to a recent survey

SBM conducted of the businesses in its network, about half of small businesses with

employees have been prevented from hiring a desired worker due to a noncompete

agreement. Id. ¶ 14. Moreover, nearly half of respondents reported that a noncompete

agreement had prevented them from starting or growing a business of their own. Id.

Because of the harms non-compete agreements inflict on small businesses, SBM has

advocated extensively in favor of the Rule, including by submitting a comment letter

on the proposed rule and filing amicus briefs in support of the Rule. Id. ¶ 10.

      If the Rule remains enjoined, the businesses SBM represents will suffer the

costs associated with being unable to hire the workers they most desire, and in many

cases will be forced to hire less qualified and less productive workers, resulting in

economic harm to their businesses. Id. ¶¶ 11-15. The injunction takes literally



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millions of workers subject to noncompetes out of the labor market, restraining

competition and making it harder for small businesses to innovate and grow. Id. ¶ 15.

Small businesses will also have to take on financial and legal burdens associated

with ensuring that new hires do not have existing non-compete agreements and

paying litigation costs if, for example, an new hire’s former employer claims that the

business tortiously interfered with a contract by inadvertently hiring a former

employee subject to a noncompete. Id. ¶ 16. See Rule, 89 Fed. Reg. at 38,392.

      These interests are sufficient for intervention by right. See Wal–Mart Stores v.

Texas Alcoholic Beverage Comm’n, 834 F.3d 562, 569 (5th Cir. 2016) (holding that

an association may intervene because it has a “‘legally protectable’ interest” in a

regulatory scheme); City of Houston v. Am. Traffic Solutions, Inc., 668 F.3d 291, 294

(5th Cir. 2012) (holding a civic organization that successfully petitioned for adoption

of a law may intervene to vindicate its interest in protecting that law); cf. Cooper v.

Tex. Alcoholic Bev. Comm’n, 820 F.3d 730, 738 (5th Cir. 2016) (economic actors

have Article III standing “to challenge official actions that change the amount of

competition in [the] market”).

                b. John Roffino
      Mr. Roffino has a sufficient interest to intervene because he is subject to a

non-compete agreement that is currently hindering his economic freedom and

inflicting economic harm. The Rule would eliminate those harms by freeing him



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from his noncompete agreement and its collateral consequences. Mr. Roffino has

been unable to pursue employment in his preferred field and, as a result, is making

substantially less money than he would if his noncompete were invalidated. Exh. B

¶¶ 17-26. Mr. Roffino is also prevented by his noncompete from developing his

innovative business idea for a company selling mobility devices that specifically

caters to the needs of veterans. Id. ¶ 26. These are exactly the kinds of harms this

Court deemed sufficient for intervention in Texas v. United States, where the

intervenors had “an interest in the employment opportunities that would be available

to them” if the executive action they sought to defend was upheld. 805 F.3d at 660;

see id. (“[T]heir interest in having access to job opportunities is sufficiently concrete

and personalized to support intervention.”). Furthermore, even after his

noncompete’s restrictions expire, Mr. Ruffino will be hampered by the prospect of

litigation if he were to start his business: because the noncompete covers activities

like strategic planning and business development, Mr. Ruffino justifiably worries

that his former employer would “try to enforce [the noncompete] against [him] …

by arguing that [he] began to develop [his] ideas for a new business during the

restricted post-employment period.” Exh. B ¶ 26.

      In addition, Mr. Ruffino is an intended beneficiary of the Rule and therefore

possesses a legally protectable interest in its defense. See Texas, 805 F.3d at 660

(intervenors’ interest sufficient because they “are the intended beneficiaries of the


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challenged federal policy”); Cal. ex rel. Lockyer v. United States, 450 F.3d 436, 441

(9th Cir. 2006) (“[The proposed intervenors] are the intended beneficiaries of this

law…. The proposed intervenors’ interest thus is neither ‘undifferentiated’ nor

‘generalized.’”)); see also Cooper, 820 F.3d at 737-40; Sierra Club v. Glickman, 82

F.3d 106, 109-10 (5th Cir. 1996); Rule, 89 Fed. Reg. at 38,375.

                  c.   Daniella Emmer
      Ms. Emmer has a sufficient interest to intervene for the same reasons as Mr.

Roffino—because she is subject to a non-compete agreement that is currently

hindering her economic freedom and inflicting economic harm. See Exh, C ¶¶ 4-10.

The Rule, along with a judgment vacating the district court’s injunction, would

eliminate those harms by freeing her from her non-compete agreement and its

collateral consequences. Her “interest in having access to job opportunities is

sufficiently concrete and personalized to support intervention.” Texas, 805 F.3d at

660. In addition, Ms. Emmer is an intended beneficiary of the Rule and therefore

possesses a legally protectable interest in its defense. Id.; see also Cooper, 820 F.3d

730, 737-40; Glickman, 82 F.3d at 109-10; Rule, 89 Fed. Reg. at 38,375.

             3.        Disposition of this Action May Impair Proposed Intervenors’
                       Ability to Protect Their Interests.
      Upon demonstrating an interest in the pending lawsuit, an intervenor must

show that the “disposition of the action may, as a practical matter, impair [its] ability

to protect that interest.” La Union del Pueblo Entero v. Abbott, 29 F.4th 299, 306-07


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(5th Cir. 2022). That test is met so long as “there is a possibility that [the movant’s]

interest could be impaired or impeded.” Id. at 307 (emphasis added). Proposed

Intervenors satisfy this requirement because any result that leaves the district court’s

injunction in place would directly harm their financial and economic interests,

including their right to economic self-determination.

              4.     If the Government Stops Defending The Rule,
                     Representation By Existing Parties Will Be Inadequate.
       If the contingency on which the Conditional Motion is premised comes to

pass—i.e., if the government seeks to voluntarily dismiss this appeal, hold these

proceedings in abeyance, stipulate to judgment, decline to seek en banc or Supreme

Court review of an adverse decision, or take similar action—then by definition, the

existing parties will no longer be adequately representing Proposed Intervenors’

interests in the case.

                                   CONCLUSION
       Proposed Intervenors respectfully request that the Court grant their motion for

permissive intervention. In the alternative, Proposed Intervenors respectfully request

that the Court defer consideration of their conditional motion for intervention as of

right and then, if the government stops defending the Rule in whole or in part, grant

the motion at that time.

       In addition, Proposed Intervenors respectfully request that the Court order the

government to provide at least 10 days’ notice to Proposed Intervenors and the Court


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before voluntarily dismissing this appeal, stipulating to judgment, or taking any

similar action.



Dated: January 13, 2025                       Respectfully Submitted,

                                              /s/    Michael Lieberman

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                     CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of Federal Rule of Appellate

Procedure 27(d)(2)(A) because it contains 5,196 words. This brief also complies

with the typeface and type-style requirements of Federal Rules of Appellate

Procedure 32(a)(5) and 32(a)(6) because it was prepared using Word for Microsoft

365 in Times New Roman 14-point font, a proportionally spaced typeface.



                                     /s/ Michael Lieberman
                                     Michael Lieberman




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                          CERTIFICATE OF SERVICE

      I hereby certify that on January 13, 2025, I electronically filed the foregoing

brief with the Clerk of the Court for the United States Court of Appeals for the Fifth

Circuit by using the appellate CM/ECF system. Service will be accomplished by the

appellate CM/ECF system.



                                       /s/ Michael Lieberman
                                       Michael Lieberman




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                 Exhibit A
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      Pursuant to 28 U.S.C. § 1746, I, John C. Arensmeyer, hereby declare as

follows:

      1.    I am over 21 years old and reside in Washington, D.C.

      2.    I am offering this declaration in support of Small Business Majority’s

Motion For Permissive Intervention Or, In The Alternative, Conditional Motion For

Intervention As Of Right in Case No. 24-10951.

      3.    I am the founder and CEO of Small Business Majority (“SBM”). In that

capacity, I oversee SBM’s work on all issues, including its work related to non-

compete clauses.

      4.    SBM is a national small business organization that empowers

America’s diverse entrepreneurs to build a thriving and equitable economy. From

our 12 offices across the country, SBM engages its network of more than 85,000

small businesses and 1,500 business and community organizations to deliver

resources to entrepreneurs and advocate for public policy solutions that promote

inclusive small business growth.

      5.    Businesses and community organizations join SBM’s network in

multiple ways, including, for example, by registering for events hosted by SBM,

directly contacting SBM or its employees, submitting information through one of

two SBM websites, or signing up for SBM’s newsletter.




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      6.     Small businesses serve on our national and state Small Business

Councils, where they provide valuable input into our work and guide our priorities

as an organization. Our National Small Business Council consists of small business

owners from various industries across the nation. Council members volunteer their

time and entrepreneurial expertise at council meetings, public events, visits and other

direct communication with policymakers, testimony before legislative committees

and administrative bodies, and in the media to help SBM identify and address the

biggest issues facing small businesses today. Our state Small Business Councils are

similar, with council members volunteering their time and entrepreneurial expertise

to help SBM identify and address the most pressing state-level issues facing small

businesses today.

      7.     SBM has also invited some of our most active small business owners

to serve on our Board of Directors. SBM’s Board of Directors is composed entirely

of seasoned professionals who work in the small business ecosystem and whose

experiences and perspectives inform the direction of Small Business Majority. Each

Board member has cultivated successful business and non-profit ventures and/or has

worked extensively in small business public policy, which has equipped each one

with the knowledge and expertise to help guide the organization, provide valuable

insight and advise us on our most important decisions.




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      8.     SBM has a range of involvement from the other small businesses in its

network. Some small business owners simply attend events and subscribe to our

newsletters. Others are part of our spokesperson program where they speak with

reporters, submit letters and op-eds to newspapers, meet with policymakers, testify

at state and federal legislative hearings, and more. Others join our network to learn

more about the technical issues on which we provide education or to get referred to

legal, financial, or technical resources they need to operate their businesses. Some

small business owners in our network co-host events with us as co-presenters and

help us develop educational content. And hundreds respond to regular online surveys

through which we seek valuable input about their needs and concerns. This

information directly impacts our decisions about policies on which to focus and

drives the positions that we take in support of or in opposition to those policies.

      9.     SBM’s work is bolstered by extensive research into the issues identified

by our council members and the small businesses in our network—including a recent

survey concerning noncompetes—and deep connections with the small business

community that enable it to educate stakeholders about key issues impacting

America’s entrepreneurs, with a special focus on the smallest businesses and those

facing systemic inequities.

      10.    As part of its purpose to advocate for public policy solutions that

promote inclusive small business growth, SBM has engaged in public policy


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advocacy related to non-compete agreements, including by supporting the Federal

Trade Commission’s recent rule that makes certain non-compete clauses in

employment contracts unenforceable. See, e.g., John Arensmeyer, Written Statement

For The Record Before The U.S. Senate Committee On Banking, Housing, And

Urban Affairs Subcommittee On Economic Policy, at 2 (Aug. 8, 2024), available at

https://tinyurl.com/mvub8t5u (“Small businesses support banning non-compete

agreements because they are antithetical to the free, fair and open competition that

is essential to a thriving and equitable economy.”); Letter from Small Business

Majority    to   FTC     Commissioners       (April     22,   2024),    available   at

https://tinyurl.com/3tb8r6sn (“Established small businesses can’t find employees to

grow and compete on a level playing field with a dominant corporation that traps

their skilled employees through non-compete agreements.”). SBM filed a comment

letter supporting the proposed rule during the notice-and-comment period, and the

FTC cited that letter in its final rule. See, e.g., Non-Compete Clause Rule, 89 Fed.

Reg. 38,342, 38,347 n.104 (May 7, 2024). SBM has also filed amicus briefs in

support of the Rule. We also speak at conferences and webinars to advocate directly

to policymakers regarding the harms inflicted by noncompete agreements.

      11.    Thousands of small businesses in SBM’s network are harmed by

noncompetes and would benefit from the Non-Compete Clause Rule. Noncompete

provisions are harmful to the free, fair, and open competition that is fundamental to


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a thriving and equitable economy. By artificially restricting labor market mobility,

noncompetes impede small businesses in SBM’s network from finding new talent to

innovate and grow their businesses. Many businesses in SBM’s network have been

unable to hire their preferred employees because of noncompetes, and others have

incurred legal fees to investigate the applicability of a noncompete or respond to

allegations that they or their employees violated one. If noncompete clauses continue

to be enforceable, these harms will continue into the future.

      12.     Non-compete agreements also impede the ability of individuals to

maximize their skills and technical expertise by pursuing new job opportunities or

starting their own businesses, which further hampers small business growth and

innovation.

      13.     Noncompetes harm not only small businesses and individuals, but also

the economic ecosystem in which they operate. If a small business cannot hire

sufficient staff because noncompetes bind qualified lateral hires, then they cannot

operate in an economy that is ever more dominated by huge corporations. They

cannot offer goods and services at competitive prices, and they cannot hire workers

at competitive wages. Some small businesses will go out of business. Others sell to

private equity firms that “roll up” competing small businesses and create monopolies

out of them. The monopolistic harm caused by such roll-ups is well-documented,




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and makes it even more difficult for small businesses to compete with competitors

with higher market share.

      14.    SBM recently conducted a nationwide survey of small businesses in its

network to gauge their views on and experiences with non-compete clauses. The

survey results are attached here as Exhibit 1. Our survey found that found that 59%

of respondents in our network support FTC’s Non-Compete Clause Rule, with only

14% opposing it. In addition, more than one-third of respondents in SBM’s network

have been prevented from hiring an employee they wanted to hire due to a non-

compete agreement. This result understates the problem, as 35% of survey

respondents were sole proprietors who do not have employees. Accordingly, the

survey’s results imply that more than half of businesses with more than one

employee have been prevented from hiring an employee due to a non-compete

agreement.    The Non-Compete Clause Rule would have delivered substantial

benefits to these businesses by eliminating labor market constraints that were

hindering their businesses’ growth and economic freedoms. Furthermore, 46% of

respondents said that they have been subject to a non-compete agreement that

prevented them from starting or growing a business of their own. These findings are

backed by real stories and anecdotes from our membership which underscore the

importance of noncompete bans to empower entrepreneurs to start, grow, and expand

their business.


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      15.     By invalidating the Rule, the injunction in this case inflicted immediate

and harmful effects on many of the businesses in SBM’s network. Their ability to

recruit and hire new employees is now considerably more constrained than it would

have been absent the injunction, as millions of workers subject to noncompetes are

effectively kept off the labor market. By their nature, small businesses depend more

on the quality and productivity of the few workers they hire. Yet noncompetes will

now continue to shut small businesses out of hiring workers with the most relevant

skills and knowledge—even if those workers would be a better fit in the small

business. In short, the injunction reimposes labor market restraints that prevent the

small businesses in SBM’s network identifying, recruiting, and hiring the workers

that will add the most value to their businesses, resulting in economic harm.

      16.     Furthermore, if the Non-Compete Clause Rule remains enjoined, many

small businesses in SBM’s network will incur unrecoverable costs, including

administrative and legal fees, ensuring that any new or potential hires are not subject

to existing non-compete agreements, as well as to understand the scope and terms of

any such agreements. These small businesses will also incur legal fees and litigation

expenses if an employee’s former employer claims that the business tortiously

interfered with a contract by inadvertently hiring a former employee subject to a

noncompete.




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          17.   Several of the businesses and business owners in SBM’s network have

authorized me to share their experiences with noncompetes in connection with this

filing:

                a. Leo Carr, president of The Elite Group in Southfield, MI: As an
                   employer, Elite does not believe in non-compete agreements and
                   doesn’t require any employee to sign such an agreement. One of our
                   subsidiary companies has experienced challenges in hiring
                   employees who were under non-compete agreements with their
                   previous company. For example, we were hiring for the position of
                   Recruiter, and the individual would work in the educational sector
                   primarily. Here’s what happened: We selected our new hire, but she
                   was unable to join us for about 6 months, or so, or until the date her
                   non-compete agreement ended. In the interim, that position was
                   essentially vacant for the company, which of course resulted in our
                   company not being as effective and efficient as we should have been.
                   But since we hired this person, knowing that the non-compete would
                   be a factor, it’s our fault for proceeding forward. At the same time,
                   we knew that this person had the skills necessary for the position
                   and would be a good cultural fit for our company, so we waited until
                   her non-compete ended, and then hired her. This did have a negative
                   impact on our ability to deliver timely service both internally and
                   externally.

                b. Stephen Quintal, business owner: Shortly after starting work for
                   Handy House in 1999, I was required to sign a non-compete
                   agreement before being promoted to manager. When I left and
                   started my own thing many years later, five to six months went by,
                   and all of a sudden they produced a non-compete agreement that was
                   signed and sued me. They took me to court, and the judge in
                   Massachusetts basically told them, you don’t have a leg to stand on.
                   They tried making me run out of money. I spent $160,000 in
                   representing myself after just opening and feeding my family. It was
                   a nightmare. I just couldn’t believe that in America. It wasn’t like I
                   was a shareholder. I understand a non-compete if I sold them a
                   company and I signed something because they paid me $5 million,
                   and I can’t go into business for five years. I get that. But when you’re
                   just an hourly employee. By the time I left, I was a salary employee.

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       I was a manager, so my job title changed three times. It should have
       been a new non-compete, according to the law, from what I
       understood, each time they changed my title or my position. The
       money that I should have made in profit at my new business, instead
       of buying more equipment, another truck, or more porta potties to
       rent to customers, I was shoveling it to the lawyers. I mean, how
       many secrets are there in renting plastic porta potties and cleaning
       them at a job site or event? There’re no trade secrets there.

    c. Tracy DuCharme, owner of Color Me Mine in Colorado Springs,
       CO: For 14 years, I have owned a small business that allows
       customers to paint their own ceramics. I have experience with non-
       compete agreements from both sides. I have previously required
       new employees to sign them, and I have one in force on me to this
       day in my franchise agreement. I had a change of heart about
       requiring employees to sign a non-compete agreement, ironically,
       when I had an employee violate it. Years ago I had a very talented
       employee who quit so she could set up a business very similar to
       mine only a few miles away. The entire reason she came to work for
       me was to gain experience and learn the business before she opened
       her own store. I never took any action to enforce the agreement
       because the reality is that, at least in retail, you will always have
       competition. I had no desire to harm her new business or see it fail.
       We are not operating in a vacuum. A market without competition is
       a market without growth, innovation, or economic moderators. As
       I’ve grown as a business owner over the years, I’ve come to see the
       absurdity of non-competes for what they are. It is a tool that, when
       in force, can create stagnation. This is not the way to grow a vibrant
       and thriving economy. I no longer have employees sign non-
       compete agreements. I strongly believe that workers should be free
       to use their skills and talents to earn a living in their preferred field
       without being restricted by a non-compete. I should be able to hire
       talent regardless of where they acquired the skills I’m looking for.
       And no one should be barred from pursuing their entrepreneurial
       dreams due to a non-compete agreement.

    d. Shirley Modlin, owner of 3D Design and Manufacturing, LLC in
       Powhatan, VA: At one time I required all of my employees to sign
       non-compete agreements but decided to end that practice because I
       felt it was hurting my ability to hire the most talented workers. I also

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          went a step further: For employees who signed a non-compete in the
          past and still work for me, I voided their agreements. Since making
          this change, my business has not suffered any financial harm. I
          firmly believe that as workers gain skills and experience throughout
          their careers they must be allowed to use those skills and experiences
          to further their livelihoods in ways that are in the best interest of the
          workers and their families.

      e. Jean Underwood, owner of Design Mavens Architecture in
         Bloomington, IL: Non-compete agreements are a hindrance to
         people who want to start a small business. I didn’t have a choice but
         to sign one for one of my previous employers as part of a promotion.
         I figured I wasn’t going anywhere, so I’d just sign it. It turns out that
         agreement wasn’t well written; however it was still enforceable in
         the state of Illinois. As a result, I had to wait one year before being
         able to reach out to any of my clients and contacts after I left my
         previous employer.


I declare under penalty of perjury that the foregoing is true and correct.

Executed on January 12, 2025 at Washington, DC.



                                  ____________________

                                  John C. Arensmeyer




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                 Exhibit B
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                     Pursuant to 28 U.S.C. § 1746, I, John Roffino, hereby declare as follows:

                     1.      I am over 21 years of age and a resident of Georgetown, Texas. I have

            personal knowledge of the facts set forth herein and am competent to testify about

            them if called as a witness.

                     2.      I am offering this declaration in support of my Motion For Permissive

            Intervention Or, In The Alternative, Conditional Motion For Intervention As Of

            Right in Case No. 24-10951.

                     3.      I enlisted in the United States Army after graduating high school to

            serve my country and help pay for college. I joined a special operations unit

            because it provided better education benefits.

                     4.      I was in that unit on September 11, 2001. Operation Enduring

            Freedom was launched shortly afterwards, and I never went to college. Instead, I

            was deployed to Afghanistan, where I served as a psychological operations

            specialist. Over the course of my military career, I served in Afghanistan two

            different times and was deployed in Afghanistan for over two years.

                     5.      During my deployments, I was on the front lines with Special

            Operations forces working with the local population to combat enemy propaganda,

            including by helping to develop a local news station into a critical source of news

            in the area. I also engaged in active combat and earned a bronze star medal in

            recognition of my distinguished performance.
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                     6.      While serving during my second tour in Afghanistan I missed the birth

            of my firstborn son. I have been a part of three military funerals for fellow soldiers

            lost overseas and one due to complications in medication from the VA healthcare

            system post-deployment. I was also classified and diagnosed by the VA as being a

            100% disabled veteran due to injuries sustained during my two deployments.

                     7.      I am very proud of my service to my country, and when I returned to

            civilian life, I sought a profession that would allow me to continue to help people,

            especially veterans like myself.

                     8.      My first civilian job out of the military was in working in a pediatric

            intensive care unit which got me into the hospital setting working hands-on with

            doctors and surgeons.

                     9.      While I was working in the pediatric Neuro/Trauma intensive care

            unit, I met a medical equipment sales representative who was also a veteran. He

            told me that his job was a better fit for my skillset and encouraged me to get into

            the field of medical device sales

                     10.     Upon his urging, I got my first sales job at a company that sells

            medical devices that help patients regain mobility post-surgery. I was particularly

            interested in the job because the company did a lot of business with the Veterans’

            Administration.
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                     11.     As a veteran with a 100% service-connected disability myself, I

            choose to receive my services through the Veterans’ Administration. One of the

            things I was most excited about was being able to help and encourage fellow

            veterans that were going through an experience I understood and could help them

            with.

                     12.     My job entailed explaining medical technology to doctors and helping

            them to identify patients who were suffering from post-surgical motion loss and

            could benefit from use of our product. For example, if a patient showed up to their

            post-surgical follow-up visit and were stiffer than they should have been if they

            were healing normally, I would work with the doctor to get the patient set up with

            the medical device that the company sold so that they could perform stretching

            exercises at home.

                     13.     I quickly became one of the company’s top sales representatives,

            largely because my experience as a disabled veteran allowed me to connect with

            the veterans who could benefit from the product. I was able to motivate them to get

            better during some of the most frustrating experiences of their lives, when they had

            just been through a major surgery and weren’t progressing as expected. I felt like I

            was making a real difference, and that everything in my life until that point had led

            me up to being able to excel at my job.
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                     14.     Although in many ways the job was perfect for me, I always felt like I

            could do a better job if I ran the business myself. I had ideas for a product that

            would perform better and wanted to provide the VA with a treatment that wasn’t

            rented. Selling the device outright would allow the VA more accountability for

            their spending and would allow veterans to avoid feeling rushed in their treatment,

            which would likely lead to better outcomes.

                     15.     I also felt a lot of pressure to keep increasing sales, even though I had

            already cornered the entire market in the area where I worked and didn’t think

            there was very much additional opportunity. As a result, I began to worry that my

            job was in jeopardy. I loved what I was doing, but I wanted to be able to do it on

            my own terms.

                     16.     If I started my own business that would provide mobility devices to

            veterans, I could charge a one-time payment, so that for example they do not face

            pressure to return the device just as it is starting to work. This would also give me

            the opportunity to focus on the VA market, which is my passion, helping the VA to

            lower costs and helping veterans to regain their lives.

                     17.     However, when I looked into leaving, I realized for the first time that,

            as part of the on-boarding process, I was required to sign a non-compete

            agreement, which I have attached hereto as Exhibit A.
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                     18.     At the time I was hired, I had no idea that I had agreed to a non-

            compete contract, or even what a non-compete contract was. In fact, the initial

            non-compete agreement that I signed accidentally listed the name of an entirely

            different employee, which I didn’t notice at the time.

                     19.     It didn’t occur to me that the packet of on-boarding paperwork my

            employer sent me could take away a fundamental right like my right to work in my

            chosen profession. The non-compete prevents me from engaging directly or

            indirectly in “the business of researching, developing, providing, rendering,

            manufacturing, selling and distributing” orthopedic medical devices within two

            years of the date of termination of employment. The restricted activities under the

            non-compete include activities like “business development” and “strategic

            planning.”

                     20.     The agreement covers any territory in which I had material

            responsibilities, which includes the greater Austin area.

                     21.     The agreement also has a tolling provision stating that if a court

            determines that I have violated the non-compete, then the two-year statute of

            limitations can either be extended or restarted.

                     22.     Separate from the non-compete, the agreement has a provision that

            prevents me from using any confidential information and another provision that

            protects the company’s intellectual property.
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                     23.     I consulted with at least two lawyers, both of whom I paid a

            consultation fee, about the validity of the non-compete agreement. Both told me

            that I could face risk if I tried to sell mobility devices to veterans in the greater

            Austin area, either with another employer or through my own business.

                     24.     Around the time I began to realize how the non-compete would affect

            my life and future, I learned that the FTC had proposed a rule that would ban non-

            competes. On January 31, 2023, I submitted a comment to that rulemaking where I

            stated my frustration with how my non-compete was affecting my life and my

            future. That comment is attached hereto as Exhibit B.

                     25.     I left my employment on February 17, 2023. Although there were

            other companies that I could easily have gotten a job with to sell mobility devices,

            because of the non-compete, I wasn’t able to find another job doing the same kind

            of sales work. Instead, I took a job for a different company in a completely

            different industry, which required me to rebuild my relationships and expertise

            from scratch and take a pay cut of approximately $30,000 per year in guaranteed

            salary. At my current employer I earn about 2/3 of what I earned at my previous

            employer.

                     26.     Worse, the non-compete has kept me from what I believe is my calling

            of serving veterans and the VA by doing what I am best at. Not only am I

            prohibited from starting a business that competes with the business of my prior
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            employer for two years after leaving my employment, but because the non-

            compete also covers activities like strategic planning and business development, I

            am worried that my employer will try to enforce it against me even after the two

            years is up, for example by arguing that I began to develop my ideas for a new

            business during the restricted post-employment period, or by arguing that the two-

            year statute of limitations restarted at some time during that period.

                     27.     This feels particularly unfair because I felt like I was pushed out of

            my job for being too successful and dominating the market too quickly, which

            meant I couldn’t provide the constant growth my company was looking for. This

            left me in the impossible situation where either I had to quit and to abandon the

            subject of my expertise and the patients I worked with, or the company could force

            me to do whatever they wanted.

                     28.     If I did at some point start my own sales business and the non-

            compete rule doesn’t go into effect, it will make it far harder for me to break in,

            because many of the skilled and knowledgeable sales representatives that I could

            recruit are subject to non-competes that prohibit them from working with me.This

            is not the America that I fought for. The America that I fought for is a country that

            values freedom, where the good ideas rise to the top on their merit and where

            success is earned through healthy competition and not by blocking others from

            challenging the status quo. If the FTC’s final rule does not go into effect, the
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            dreamers and innovators of America who can drive change that benefits our society

            will be blocked for the sake of rich corporations and businesses. The very

            foundation of our country is that Americans are free to make a better life for

            themselves and others. Our society is founded on driving innovation and efficiency

            and the principles of free will and progression. Our country desperately needs to

            ban non-compete agreements so that innovators and change-makers in the

            healthcare industry can be driven by the progression of patient care, not for the

            security of big corporations and businesses.

                     I declare under penalty of perjury that the foregoing is true and correct.

                     Executed on January
                                         __, 2025 at Georgetown, TX.



                                                            _______________________

                                                            John Roffino
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                 Exhibit A to
Declaration of John Roffino
                                                                                                         SALES

                              CONFIDENTIALITY, NON-COMPETITION
                            ANDINTELLECTUALPROPERTYAGREEMENT
    .,

     :. This CONFIDENTIALITY, NON-COMPETITION                         AND INTELLECTUAL PROPERTY
AGREEMENT (this "Agreement") is dated                                  and is between ERMI, INC., a, Georgia
corporation (the "Company") and John McElvarr ("Employee").

         WHEREAS, the Company has expended significant time, effort and resources to develop and protect
its trade secrets and confidential information, its relationships with current and prospective customers, and its
investp1ent in recruiting and training its workforce; and

         WREREAS, the nature of Employee's position with the Company gives Employee access to the
Company's trade secrets and confidential information, the opportunity to develop relationships with the
Company's current and prospective customers, and/or the opportunity to obtain selective or specialized
skills, knowledge or abilities that would give Employee the ability to unfairly compete with the Company.

         NOW, THEREFORE, in consideration of Employee's employment or continued employment with
the Company, Employee's access to trade secrets, confidential information and customer relationships, and
other good and valuable consideration, the receipt and sufficiency of which is hereby acknowledged, the
parties, intending to be legally bound, hereby agree as follows:

         1.      Definitions. As used in this Agreement, the following terms have the following meanings:

                "Affiliate" means, with respect to any specified Person other than a natural person, any
         Person that, directly or indirectly, has the power to direct the management and policies of such
         Person whether through the ownership of voting securities, by contract or otherwise.

                   "Business" means the business of researching, developing, providing, rendering,
         manufacturing, marketing, selling and distributing orthopedic medical devices designed to improve
         joint range of motion, brace any joint or joints to improve function or influence the joint to improve
         function or range of motion, and any medical device, system or method designed to provide an
         orthopedic diagnosis, improve or assist an existing orthopedic diagnostic device or technique and the
         development of any database surrounding the fmdings of the aforementioned orthopedic diagnostic
         system, and any medical device, system or method designed to move or position a patient or similar
         activities conducted, authorized, offered or provided by the Company Group within two (2) years
         prior to the date of termination of Employee's employment with the Company.

                 "Comoanv GrouQ" means the Comoany to!!ether with all of its direct and indirect
         subsidiaries.

                  "Confidential Information" means confidential information relating to the business of the
         Company Group that has value to the Company Group and is not generally known to its competitors.
         Confidential Information includes business strategies, methods of operation, pricing information,
         customer lists, information regarding past, current, and prospective customers, suppliers, distributors,
         and business partners, financial information and projections, sales and marketing strategies and
         information, research and development information, legal information, information regarding
         recruiting and hiring activities and similar confidential information, regardless of whether such
         information is specifically identified by the Company Group as confidential. Confidential
         Information includes trade secrets (as defined under Georgia law) as well as information that does
         not rise to the level of a trade secret, and includes any confidential information that has been
         entrusted to the Company Group by another Person under an obligation of confidentiality. However,
         Confidential Information does not include any information that has been voluntarily di~closed to the




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          ~ublic by the Company Group (except where such public disclosure has been made by Employee
          without authorization) or that has been independently developed and disclosed by others, or that
     :.   otherwise enters the public domain through lawful means.

                "Customer" means any Person (i) who is or was a customer, referral source, or vendor of the
          Company Group and (ii) with whom Employee had Material Contact during the two (2)-year period
          immediately preceding the date of termination of Employee's employment with the Company.

                  "Intellectual Property Rights" has the meaning set forth in Section 4(a).

                   "Material Contact" means contact between Employee and any Customer or Prospective
          Customer (i) with whom Employee dealt on behalf of the Company Group, (ii) whose dealings with
          the Company Group were coordinated or supervised by Employee, (iii) about whom Employee
          obtained Confidential Information in the ordinary course of business as a result of Employee's
          association with the Company Group, or (iv) who receives products or services authorized by the
          Company Group, the sale or possession of which results or resulted in possible compensation,
          commissions, or earnings for Employee within the two (2)-year period immediately preceding the
          date of termination of Employee's employment with the Company.

                   "Person" means any individual, firm, corporation, partnership, limited liability company,
          incorporated or unincorporated association, joint venture, joint stock company, governmental agency
          or instrumentality or other entity of any kind.

                   "Prohibited Activities" means executive, management, marketing, sales, business
          development, strategic planning, research and development, financial or consulting activities that are
          of the type conducted, provided, or offered by Employee for or on behalf of the Company Group
          during the two (2)-year period immediately preceding the date of termination of Employee's
          emolovment with the Comoanv. Prohibited Activities also include anv activities that are likelv to
          lead to the disclosure of Confidential Information.

                 "Prospective Customer" means any Person (i) who is or was actively sought by the
          Company Group as a prospective customer, referral source, or vendor and (ii) with whom Employee
          had Material Contact during the two (2)-year period immediately preceding the date of termination
          of Employee's employment with the Company.

                  "Restricted Period" means the period of Employee's employment with the Company and the
          two (2)-year period following the date Employee's employment with the Company terminates for
          any reason.

                 "Territory" means the sales territory to which Employee was assigned during the two (2)-
          year period immediately preceding the date of termination of Employee's employment with the
          Company.

                 "Work Product" has the meaning set forth in Section 4(a).

          2.     Non-Disclosure of Confidential Information.

                 (a)    Restrictions on Use. Except as necessary in connection with Employee's duties and
responsibilities to the Company Group or as required by law or court order, Employee shall hold in
confidence all Confidential Information and shall not, either directly or indirectly, use or disclose any
Confidential Information to any Person without the prior written consent of the Company's Chief Executive
Officer. Employee's obligations as set forth in this Section 2 are in addition to and not in lie1,1 of ariy other

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obligations Employee may have to protect Confidential Information (including obligations arising under the
Company Group's policies, ethical rules, and applicable law), and such obligations will continue for so long
as th.e information in question continues to constitute Confidential Information. Nothing in this Agreement is
interi"ded to or should be interpreted as diminishing any rights and remedies that the Company Group has
under applicable law related to the protection of confidential information or trade secrets. Any unauthorized
use or disclosure of Confidential Information during Employee's employment may lead to disciplinary
action, up to and including termination.

                 (b)     Advance Notice of Required Disclosure. In the event Employee is requested or
required pursuant to any legal, governmental, or investigatory proceeding or process or otherwise to disclose
any Confidential Information, Employee shall promptly notify the Company's Chief Executive Officer in
writing (in no event later than five (5) business days prior to the disclosure unless disclosure is required in
less than five (5) days, in which case Employee shall notify the Company as soon as possible), so that the
Company may seek a protective order or other appropriate remedy or, if it chooses, waive compliance with
the applicable provision of this Agreement. Employee shall cooperate with the Company Group to preserve
the confidentiality of such Confidential Information consistent with applicable law or court order, and shall
use Emolovee's best efforts to limit anv such disclosure to the minimum disclosure necessarv to comolv with
such law or court order.

                  (c)      Permitted Disclosures. Notwithstanding any other provision of this Agreement,
Employee is not prohibited from providing truthful testimony or accurate information in connection with any
investigation being conducted into the business or operations of the Company Group by any government
agency or other regulator that is responsible for enforcing a law on behalf of the government or otherwise
providing information to the appropriate government regulatory agency or body regarding conduct or action
undertaken or omitted to be taken by the Company Group that Employee reasonably believes is illegal or in
material non-compliance with any financial disclosure or other regulatory requirement applicable to the
Company Group. Employee is not required to obtain the approval of, or give notice to, the Company or any
of its representatives to take any action permitted under this Section 2(c).

        3.      Protection Against Unfair Competition.

                 (a)      Non-Competition. During the Restricted Period, except on behalf of the Company
Group, Employee shall not, directly or indirectly, perform Prohibited Activities anywhere in the Territory
for, or on behalf of, any Person that engages in the Business.

                (b)     Non-Solicitation of Customers and Prospective Customers. During the Restricted
Period, Employee shall not, directly or indirectly, (i) solicit or attempt to solicit any Customer or Prospective
C.ustomer for purposes of providing products or services that are competitive with those offered or provided
by the Company Group during the two (2)-year period immediately preceding the date of termination of
Employee's employment with the Company.

                 (c)      Non-Solicitation of Employees. During the Restricted Period, Employee shall not
solicit or attempt to solicit, directly or by assisting others, any Person who was employed with the Company
Group on, or within six (6) months before, the date of such solicitation or attempted solicitation, for purposes
of inducing such Person to leave the employment of the Company Group.

        4.      Intellectual Property.

               (a)     Ownership of Work Product. Employee acknowledges and agrees that all writings,
works of authorship, technology, inventions, discoveries, ideas and other work product of any nature
whatsoever, that are created, prepared, produced, authored, edited, amended, conceived or re.duced to
practice by Employee individually or jointly with others during the period of Employee's employment with
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the Company and relating in any way to the business or contemplated business, research or development of
the Company (regardless of when or where the Work Product is prepared or whose equipment or other
resaurces is used in preparing the same) and all printed, physical and electronic copies, all improvements,
rights and claims related to the foregoing, and other tangible embodiments thereof (collectively, "Work
Product"), as well as any and all rights in and to copyrights, trade secrets, trademarks (and related goodwill),
patents and other intellectual property rights therein arising in any jurisdiction throughout the world and all
related rights of priority under international conventions with respect thereto, including all pending and
future applications and registrations therefore, and continuations, divisions, continuations-in-part, reissues,
extensions and renewals thereof (collectively, "IntellectUal Property Rights"), shall be the sole and exclusive
prop~rty of the Company.


                 (b)     Work Made for Hire: Assignment. Employee acknowledges that, by reason of being
employed with the Company at the relevant times, to the extent permitted by law, all of the Work Product
consisting of copyrightable subject matter is "work made for hire" as defined in 17 U.S.C. § 101 and such
copyrights are therefore owned by the Company. To the extent that the foregoing does not apply,' Employee
hereby irrevocably assigns to the Company, for no additional consideration, Employee's entire right, title and
interest in and to all Work Product and Intellectual Property Rights therein, including the right to sue,
counterclaim and recover for all past, present and future infringement, misappropriation or dilution thereof,
and all rights corresponding thereto throughout the world. Nothing contained in this Agreement is to be
construed as reducing or limiting the Company's rights, title or interest in any Work Product or Intellectual
Property Rights so as to be less in any respect than that the Company would have had in the absence of this
Agreement.

                 (c)      Further Assurances; Power of Attorney. During and after Employee's employment
with the Company, Employee agrees to reasonably cooperate with the Company to (i) apply for, obtain,
perfect and transfer to the Company all Work Product as well as all Intellectual Property Rights in the Work
Product in any jurisdiction in the world, and (ii) maintain, protect and enforce the same, including, without
limitation, executing and delivering to the Company any and all applications, oaths, declarations, affidavits,
waivers, assignments and other documents and instruments as may be requested by the Company. Employee
hereby irrevocably grants the Company power of attorney to execute and deliver any such documents on
Employee's behalf in Employee's name and to do all other lawfully permitted acts to transfer the Work
Product to the Company and further the transfer, issuance, prosecution and maintenance of all Intellectual
Property Rights therein, to the fullest extent permitted by law, if Employee does not promptly cooperate with
the Company's request (without limiting the rights the Company may have in such circumstances by
operation oflaw). The power of attorney is coupled with an interest and shall not be affected by Employee's
subsequent incapacity.

 .               (d)     No License. Employee understands and agrees that this Agreement does not, and
shall not be construed to, grant Employee any license or right of any nature with respect to any Work Product
or Intellectual Property Rights or any Confidential Information, materials, software or other tools made
available to Employee by the Company.

         5.      Return of Property. All records, notes, lists and any other documents and materials relating
to the Company and its operations are and shall be the sole property of the Company. Upon termination of
Employee's employment, or upon the Company's request at any time, Employee shall immediately (a)
deliver to the Company all Company property in Employee's possession or control, including all keys, access
cards, credit cards, mobile devices, computers, storage media, documents, and any other materials belonging
to the Company (including those that constitute or contain any Confidential Information), together with all
copies of the foregoing; (b) delete all Confidential Information stored on any networks, computers or other
storage media not owned by the Company that are within Employee's possession or control; (c) produce for
inspection any laptops, tablets or other mobile devices that Employee has used for work-related purposes and


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permit the Company to delete all Company data from such devices; and (d) disclose to the Company all
passwords and passcodes in Employee's knowledge and/or possession relating to the Company's operations.
     :.
         6.     Non-Disparagement. To the fullest extent permitted by law, Employee shall not to make any
defamatory or disparaging remarks, comments or statements concerning the Company, its Affiliates, or their
respective officers, directors, employees, products or services. Nothing in this Agreement prohibits
Employee from providing truthful testimony or information pursuant to a subpoena, court order or other legal
process.

      , 7.       Use of IT Systems. Employee acknowledges and agrees that all contents of the Company's
information technology resources and communications systems (collectively, "IT Systems") are the property
of the Company. Employee shall not transmit any Confidential Information stored in the Company's IT
Systems to or via any unsecure source, including Employee's personal e-mail accounts or electronic storage
devices. Employee has no expectation of privacy whatsoever in any e-mail, file, data, document, facsimile,
telephone conversation, public social media post, conversation or message, or any other kind or form of
information or communication transmitted to, received or printed from, or stored or recorded on the
Company's IT Systems. Employee acknowledges and agrees that the Company has the right to monitor,
intercept and review, without further notice, Employee's activities using the Company's IT Systems.

        8.       Cooperation.     During Employee's employment with the Company anQ. thereafter,
Employee agrees to cooperate with all reasonable requests by the Company for assistance in connection with
any internal or external investigations or legal proceedings involving the Company Group, including by
providing truthful testimony in person in any such legal proceedings without having to be subpoenaed.

          9.      Enforcement. Employee acknowledges and agrees that a breach of any of Sections 2
through .2 of this Agreement would cause irreparable damage to the Company Group, the exact amount of
which would be difficult to determine, and that the remedies at law for any such breach would be inadequate.
Accordingly, Employee agrees that, in addition to any other remedy that may be available at law, in equity,
or hereunder, the Company Group shall be entitled to specific performance and injunctive relief and other
equitable relief, without posting bond or other security, to enforce or prevent any breach of any Sections 2
through .2 of this Agreement. The existence of any claim or cause of action that Employee may have against
the Company Group shall not constitute a defense to the enforcement by the Company Group of the
restrictive covenants contained in this Agreement. In any action for injunctive relief, the prevailing party
will be entitled to collect reasonable attorneys' fees and other reasonable costs from the non-prevailing party.

          10.    Tolling. In the event the enforceability of any of the restrictive covenants in this Agreement
is challenged in a claim or counterclaim in court during the time period set forth in this Agreement for such
restrictive covenant, and Employee is not immediately enjoined from breaching such restrictive covenant,
then if a court of competent jurisdiction later finds that the challenged restrictive covenant is enforceable, the
time period set forth in the challenged restrictive covenant shall be deemed tolled upon the filing of the claim
or counterclaim in court seeking or challenging the enforceability of such covenant until the dispute is finally
resolved and all periods of appeal have expired; provided, however, that to the extent Employee -complies
with such restrictive covenant during such challenge, the time period set forth in the challenged restrictive
covenant shall not be deemed tolled.

         11.     No Claims: No Conflicts. Employee agrees that Employee does not and will not assert any
rights to any Confidential Information or Work Product (or any Intellectual Property Rights therein), as
having been made or acquired by Employee before Employee's employment with the Company, or since the
commencement of Employee's employment with the Company, and expressly agrees that any such rights or
potential rights are subject to and governed by this Agreement. Employee represents and warrants that
Employee's performance of all the terms of this Agreement, and the performance of Employee's duties as an


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employee of the Company, do not and will not breach any agreement between Employee and any other
Person, including any prior employer.
      :.
        12.      Notification to Subsequent Employer. Employee agrees to notify any subsequent employer
of the existence and terms of this Agreement. In addition, Employee authorizes the Company to provide a
copy of this Agreement to third parties, including but not limited to Employee's subsequent, anticipated, or
possible future employers.

         13.     Notices. All notices and other communications among the parties shall be in writing and
shall ~e deemed to have been duly given (a) when delivered in person, (b) when delivered after posting in the
United States mail having been sent registered or certified mail return receipt requested, postage prepaid, (c)
when delivered by a nationally recognized overnight delivery service, or (d) when delivered by facsimile or
e-mail (in each case in this clause (d), solely if receipt is confirmed), addressed as follows:

           To the Company:                    ERMI, Inc.
                                              411 Armour Place
                                              Atlanta, Georgia 30324
                                              Attn: Administrator for the Chief Executive Officer
                                              Facsimile: (770) 674-6365
                                              Email: t.base@getmotion.com

           To Employee:                       To Employee at Employee's most recent address as
                                              reflected in the Company's personnel records

or to such other address or addresses as the parties may from time to time designate in writing in a notice
delivered in accordance with this Section 13.

         14.      Assignment. Employee may not assign or delegate this Agreement or any of his or her rights
or obligations hereunder without the prior written consent of the Company. Any purported assignment by
Employee in violation of this provision shall be null and void from the time of such purported assignment.
The Company may assign this Agreement or any or all of its rights and interests hereunder to one or more of
its Affiliates or to any successor to all or substantially all of the business and/or assets of the Company.
Subject to the foregoing, this Agreement shall be binding upon and inure to the benefit of the parties hereto
and their respective permitted successors and assigns.

         15.     Severability. Should any provision of this Agreement be declared or determined by any
court of competent jurisdiction to be unenforceable or invalid for any reason, the validity of the remaining
parts, terms or provisions of this Agreement shall not be affected thereby and the invalid or unenforceable
part, term or provision shall be deemed not to be a part of this Agreement.

         16.     Entire Agreement. This Agreement constitutes a single integrated contract expressing the
entire agreement of the parties with respect to the subject matter of this Agreement, and supersedes and
replaces any and all other agreements and understandings, both written and oral, between the parties with
respect to the same subject matter.

         17.       Waiver; Modification. No provision of this Agreement may be modified or waived except in
writing signed by Employee and a duly authorized representative of the Company, which must specifically
reference this Agreement and the provision that the parties intend to waive or modify. Notwithstanding the
foregoing, if it is determined by a court of competent jurisdiction that any restrictive covenant set forth in this
Agreement is excessive in duration or scope or is otherwise unenforceable as drafted, it is the intent of the
parties that such restriction be modified by the court to render it enforceable to the maximum extent
permitted by law.
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       ' Should you have any questions, feel free to contact me at (404) 389-0759. We look
fo[\Vard to having you as part of the team!
      A


                                                       Sincerely,



                                                       Jamie Williams
                                                       Director - Human Resources

Enclosure: Confidentiality, Non-Competition and Intellectual Property Agreement

cc:       Natalie Moretz- District Sales Manager




DATE:          1/-z.,o /UJI1




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                 Exhibit B to
Declaration of John Roffino
Regulations.gov                                                                   https://www.regulations.gov/document/FTC-2023-0007-7563
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            Comment from Roffino, John
            Posted by the Federal Trade Commission on Mar 4, 2023


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          Docket (FTC-2023-0007) (/docket/FTC-2023-0007) / Document



              Comment




              I served my country in Afghanistan for over 2 years of my life, devoting my life to the service of others.
              The sacrifices for my country and the experiences of that war shape the work effort and devotion I have
              for my craft, which is and always will be to help others. I work in the medical equipment industry where I
              serve veterans and injured Americans with their recovery from injuries and ailments. At the time of my
              hire I signed a non-compete because, well, I needed the job. Due to my devotion to helping others I
              have gained the trust of my providers and customers who also follow the same desires and goals in their
              career. I understand that my job is sufficient enough to make a good life for my family, but there are
              better options for my patients and providers. Because of my non-compete I have to fight and attempt to


                                                                                                                                   Give Feedback
              keep my providers from using a better alternative treatment option. The concept of forcing someone to
              fight for your inferior product at the possible expense of patient care, all because your employee is
              forced by law to “serve” you feels extremely un-American and unconstitutional.

              Please, understand that the simple concept of capitalism and what America was founded upon is to
              encourage the development and advancement of technology and science by the heart and devotion of
              its citizens.

              As it stands now, I am legally forced to work for my company out of fear of a mega million dollar
              company ruining my life and my families livelihood. Patients will continue to face the possibility that their
              outcomes could be diminished and ineffective. Pretty sure that’s not what I fought for.

              Please ban non compete agreements for the sake of American progress.




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                 Exhibit C
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      Pursuant to 28 U.S.C. § 1746, I, Daniella Emmer, hereby declare as follows:

      1.     I am over 21 years old and reside in Philadelphia, PA. I have personal

knowledge of the facts set forth herein and am competent to testify about them if

called as a witness.

      2.     I am offering this declaration in support of my Motion For Permissive

Intervention Or, In The Alternative, Conditional Motion For Intervention As Of

Right in Case No. 24-10951.

      3.     I am a pre-licensed therapist practicing in Philadelphia. I have a

Master’s Degree in Community & Trauma Counseling and certification as a

Certified Trauma Professional (CTP).

      4.     I currently work for a group therapy practice. As a condition of my

hiring, I was required to sign both a non-solicitation agreement and a non-compete

agreement. I did not want to sign either agreement, but because my employer had

already refused to negotiate other terms of my employment, I believed that trying to

negotiate the non-compete would not only be unsuccessful but would risk my job

offer. Because I could not afford to lose out on the job at the time I was hired, I had

no choice but to accept the non-compete agreement.

      5.     If I leave my current employer for any reason, the non-compete

agreement would prohibit me from serving as a therapist for any patient I started

treating while at my current employer. This prohibition applies even if I do not


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directly contact or otherwise solicit the patient. Thus, even if a patient proactively

seeks out my services at my new employer, the non-compete agreement would

require me to turn down that patient. The non-compete agreement applies for two

years after the termination of my employment, and it applies no matter why my

employment is terminated. The non-compete agreement has no geographical

restriction, so even if I moved to a different city or state and an old client located me

there, I still could not provide clinical services to that patient.

       6.     The non-compete agreement states that I would be required to pay

thousands of dollars in liquidated damages to my current employer for each

individual patient I serviced in violation of the non-compete agreement, within five

days of my employer’s demand.

       7.     My employment contract also required me to agree that the non-

compete agreement is reasonable and fully enforceable against me.

       8.     The only exception to the non-compete agreement is if my continuing

treatment of a patient is clinically necessary, but the contract gives my employer

total discretion to decide whether treatment is clinically necessary. I do not believe

my employer would agree that treatment is clinically necessary except in extreme

circumstances that would not apply to the vast majority of my patients.

       9.     Since I started working for my current employer, I have had job

opportunities that I wanted to pursue, and would have pursued, but for the non-


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compete agreement. If the non-compete agreement had not been enforceable, I

would have already left my current employer and started working for a different

employer where I would have made more money.

      10.    I would like to leave my current employer, but I do not have the freedom

to do so because of the non-compete agreement. If I did not have a non-compete

agreement, or if it was not enforceable, I would be actively seeking a different job.

Based on my knowledge of the job market and the jobs that would be available to

me, I am confident that I would be able to find one that pays me more money than

my current job. Instead, because I cannot afford to turn down clients who sought me

out at a new employer, and because doing so would be clinically detrimental to my

patients in many circumstances, I am unable to leave my current employer despite

my desire to do so.

      I declare under penalty of perjury that the foregoing is true and correct.
                          10 2025 at Philadelphia, PA.
      Executed on January __,



                                       _______________________

                                       Daniella Emmer




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